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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  (Southern Division)

KEVIN AND JEIMY FLOURNOY

And

TINAEE D. CROWDER                                          Case No. 8:19-cv-00407-PX

        On their behalf and on behalf of three
        classes of similarly situated persons

       Named Plaintiffs,

v.

RUSHMORE LOAN MANAGEMENT
SERVICES LLC, et al.

         Defendants.


PLAINTIFFS’ MOTION TO CERTIFY THREE CLASSES AGAINST DEFENDANTS,
                  APPOINT NAMED PLAINTIFFS AS
        CLASS REPRESENTATIVES AND APPOINT CLASS COUNSEL


       Plaintiffs Kevin and Jeimy Flournoy and Tinaee Crowder, by and through counsel, and

pursuant to Fed. R. Civ. P. 23, request that this Court certify three classes against the Defendants.

“At an early practicable time after a person sues or is sued as a class representative, the court

must determine by order whether to certify the action as a class action.” Fed. R. Civ. P.

23(c)(1)(A). In this case, because there are no disputes of material facts based on Rushmore’s

sworn admissions in the public records this early motion would seem to the Plaintiffs to be

appropriate under the circumstances presented; in the alternative, if the Court has any concerns

with Defendants’ theory that they are not subject to COM. LAW § 12-121, the Court may consider



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 denying this motion without prejudice and certify the Plaintiffs’ proposed questions of law to

 Maryland Court of Appeals.


        The proposed State Law Class is defined as:


              Those persons in the State of Maryland for whom Rushmore has acted as a
              mortgage servicer on behalf of another, including RMAC and MTGLQ,
              within the three years before the commencement of this action, and has
              charged their mortgage accounts with property inspection fees and costs.


        The proposed FDCPA Class is defined as:


              Those persons in the State of Maryland whom Rushmore (on its behalf and
              on behalf of RMAC, MTGLQ, and others) (i) acquired the mortgage servicing
              when the loan was in default and (ii) provided a Payoff Statement which
              sought to collect directly or indirectly property inspection fees in the one year
              before the commencement of this action.


       The proposed Usury Class is defined as:
              Those persons in the State of Maryland (i) for whom Rushmore has (i) acted
              as a mortgage servicer on its behalf and on behalf of RMAC, MTGLQ, and
              others and others, and (ii) has charged their mortgage loan accounts with
              property inspection fees and costs and (iii) the mortgage loan accounts had
              not been satisfied more than six months before the commencement of this
              action.


       The claims to be addressed on a class basis are the claims set forth in the Amended Class

Action Complaint. Plaintiffs further move to be appointed as Class Representatives, and move that

their counsel be appointed as Class Counsel.


        In support of this Motion, Plaintiffs rely on the verified allegations in the Amended

 Class Action Complaint (including the verified information contained therein), their

 Memorandum of Law, and the affidavits submitted in support of this Motion, which are

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incorporated herein by reference. After certification of the proposed classes, the Plaintiffs will

submit a motion to approve the notice to the class members.


       WHEREFORE, Plaintiffs respectfully request:

      1.      That this Court enter an Order that this Motion is GRANTED; and further,

      2.      That the proposed Classes are CERTIFIED in this case; and further;

      3.      That Named Plaintiffs’ Motion to be named as Class Representative is
              GRANTED; and further;

      4.      That the motion to appoint Class Counsel is GRANTED; and further;

      5.      For such other and further relief as the nature of this case may require.


                                                     Respectfully Submitted,


                                                     _//s//Ingmar Goldson____________
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                                                     Counsel for the Plaintiffs and State Law
                                                     Class, Usury Class & FDCPA Class
                                                     Members



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                                CERTIFICATE OF SERVICE

I hereby certify a copy of the foregoing and attached exhibits were sent to all counsel of record

through the Court’s CM/ECF system when filed with the Court. Courtesy copies will also be

delivered to the Court within 48 business hours of this filing. I further certify that a copy of the

foregoing will be served on Defendant MTGLQ Investors, LP once the summons has been issued

by the Honorable Clerk.




                                              //s//Phillip R. Robinson
                                              Phillip R. Robinson




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